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                      Exhibit 15
        FILED UNDER SEAL
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       Protected - Subject to Further Protective Review

  1                   UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA
  2
  3
         IN RE:    XARELTO               )
  4      (RIVAROXABAN) PRODUCTS          )
         LIABILITY LITIGATION            )   MDL No.:     2592
  5                                      )   Section:     L
                                         )   Judge Eldon E. Fallon
  6                                      )   Mag. Judge North
                                         )
  7      THIS DOCUMENT RELATES           )
         TO ALL CASES                    )
  8
  9
 10
 11    PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW
 12                                VOLUME I
 13
 14        Videotaped Deposition of LAURA M. PLUNKETT,
 15    Ph.D., taken on Tuesday, December 6, 2016, in the
 16    office of The Lambert Firm, A.P.L.C., 701 Magazine
 17    Street, New Orleans, Louisiana 70130, commencing
 18    at 8:02 a.m.
 19
 20
 21
 22
 23
       Reported by:
 24    AURORA M. PERRIEN
       CERTIFIED COURT REPORTER
 25    REGISTERED PROFESSIONAL REPORTER

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  2    REPRESENTING PLAINTIFFS:
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 12    INC., and BAYER PHARMA AG:
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  1    REPRESENTING JANSSEN PHARMACEUTICALS, INC.,
       JANSSEN RESEARCH & DEVELOPMENT, L.L.C., JANSSEN
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                 504.310.2106
  9              Msossamon@irwinllc.com
 10
 11    ALSO PRESENT:
 12              MELISSA BARDWELL, VIDEOGRAPHER
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  1    the hospital or a doctor's office with an issue
  2    that could affect exposure, then the -- that
  3    monitoring would make sense.
  4          Q.   Well, let's focus on that start of Xarelto
  5    therapy, which was my question.             Okay?
  6               MR. DENTON:
  7                    Which was half of that sentence.
  8               MR. HOROWITZ:
  9                    Right.
 10    BY MR. HOROWITZ:
 11          Q.   You say, "at the start of Xarelto
 12    therapy," which is what I want to talk about.                     I
 13    want to understand what data specifically points
 14    to the -- to your -- or what data are you pointing
 15    to to support your opinion that this should be
 16    done at the start of therapy?             What specifically
 17    are you talking about?
 18          A.   I'm talking about the fact that within the
 19    ROCKET data it shows that there are people that
 20    respond with predict -- a predictable linear
 21    relationship between prothrombin time and -- and
 22    concentration in the plasma.
 23               So we understand that if someone is taking
 24    the drug -- it's the issue of if somebody takes
 25    the drug and doesn't reach a range of prothrombin

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  1    time that indicates benefit, that that's important
  2    information too, as well as understanding that
  3    they're beyond that level.            They're a high --
  4    they're a superabsorber or they're a -- they're a
  5    person that doesn't metabolize properly and that
  6    even at the start of therapy, this person has a
  7    prothrombin time above say 20 seconds.                And so we
  8    need to realize they're at increased risk of a
  9    bleed and maybe we need to either to decrease
 10    their dose -- so it's the idea of optimizing dose
 11    for the patient.        Maybe they weren't an elderly
 12    person with compromised renal function such that
 13    you would have -- have decreased them to 15
 14    milligrams.       Maybe you need to based on that
 15    response after they start taking the drug.
 16          Q.   What data are you relying upon to support
 17    your opinion that a doctor should do an initial
 18    measurement of PT and then dose adjust or make an
 19    adjustment to that patient's dose based on that
 20    measurement?
 21          A.   So that's their own data they collected
 22    showing that, for example, as renal function
 23    changes, exposure changes.            So it's the
 24    understanding that they -- they have a
 25    recommendation in the label that 15 milligrams is

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  1    better for some people.
  2               It's also looking across their clinical
  3    data and showing that they get effective
  4    anticoagulation in people at 10 milligrams in
  5    other patient populations.            And yet in ROCKET they
  6    never tested more than one dose.
  7               So it's the idea that dose adjustment
  8    could make sense and would be a patient safety
  9    issue but also makes sense on the issue of -- of
 10    making sure that the patient is exposed to a
 11    minimally effective dose, in other words a dose
 12    that is effective but also then will bring more
 13    safety because it's a lower dose.
 14          Q.   Where does your proposed 20 seconds that
 15    you just put out there come from?
 16          A.   In the literature you see discussions of
 17    greater than 20 seconds as cutoffs.               I think the
 18    FDA uses that in their quartiles as well, 19.8, I
 19    believe, or something like that.              So it's --
 20    there's discussions in the literature.                There's --
 21    it's not the ultimate threshold.              But certainly I
 22    believe there is some understanding that
 23    20 seconds was a threshold that was used at least
 24    in the regulatory context.
 25          Q.   And then for times after initiation of

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  1                        C E R T I F I C A T E
  2        This certification is valid only for
  3    a transcript accompanied by my original signature
  4    and original seal on this page.
  5        I, AURORA M. PERRIEN, Registered Professional
  6    Reporter, Certified Court Reporter, in and for the
  7    State of Louisiana, as the officer before whom
  8    this testimony was taken, do hereby certify that
  9    LAURA M. PLUNKETT, PH.D., after having been duly
 10    sworn by me upon the authority of R.S. 37:2554,
 11    did testify as hereinbefore set forth in the
 12    foregoing 543 pages; that this testimony was
 13    reported by me in the stenotype reporting method,
 14    was prepared and transcribed by me or under my
 15    personal direction and supervision, and is a true
 16    and correct transcript to the best of my ability
 17    and understanding; that the transcript has been
 18    prepared in compliance with transcript format
 19    guidelines required by statute or by rules of the
 20    board; and that I am informed about the complete
 21    arrangement, financial or otherwise, with the
 22    person or entity making arrangements for
 23    deposition services; that I have acted in
 24    compliance with the prohibition on contractual
 25    relationships, as defined by Louisiana Code of

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  1    Civil Procedure Article 1434 and in rules and
  2    advisory opinions of the board; that I have no
  3    actual knowledge of any prohibited employment or
  4    contractual relationship, direct or indirect,
  5    between a court reporting firm and any party
  6    litigant in this matter nor is there any such
  7    relationship between myself and a party litigant
  8    in this matter.        I am not related to counsel or to
  9    the parties herein, nor am I otherwise interested
 10    in the outcome of this matter.
 11

 12

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 15                       AURORA M. PERRIEN, CCR, RPR
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